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UNITED STATES DISTRICT COURT
EASTERN DISTRICT OF LOUISIANA

Inre: Qi] Spill by the O11 Rig * MDL No, 2179
“Deepwater Horizon” in the Gulf *
Of Mexico, on April 20, 2010 * SECTION: J
*
Applies to: Alf Cases * JUDGE BARBIER
*
* MAGISTRATE SHUSHAN

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DECLARATION OF MARCO KALTOFEN

I MARCO KALTOFEN declare as follows:

1, I am a Massachusetts registered professional civil engineer and President
of the Boston Chemical Data Corp. Since 2007 I have been a doctoral
program researcher in Civil Engineering at the Department of Civil and
Environmental Engineering at Worcester Polytechnic Institute in
Worcester, MA.

2. On May 12, 2010, Stuart Smith hired me to perform expert analysis of
both oil samples to be provided by BP (“BP Oil Samples”) and samples of
oi! and oil-contaminated material found on or near Mr. Smith’s clients’

properties (“Mr. Smith’s Clients’ Samples”).

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3, In July of 2010, I personally coordinated the receipt of the BP Oil Samples
by ZymaX Forensics of San Luis Obispo, California and the distribution
of the BP Oil Samples to other testing laboratories.

4, Steve Herman and James Parkinson Roy’s allegation that Stuart H. Smith
“surreptitiously” had his experts perform test analysis on BP Oil Samples
is inaccurate. I personally told Mr, Herman, Mr. Roy, and/or their
representatives where our team was performing its laboratory analyses,
prior to receipt of the BP oil samples. All transfers of material were fully
documented and properly recorded. All tests performed were
standardized, scientifically accepted methods which are generally
understood to be appropriate for the characterization of crude oil.

5. As of December 21, 2010, I have sent via FedEx the BP Oil Samples that I
had, along with chain of custody documentation to the Cossich, Sumich,
Parsiola & Taylor law firm. I have directed laboratory personnel to
forward any remaining aliquots of the ZymaX/BP oil samples which they
possess to the same firm.

6. I personally coordinated the taking of 487 oil, dispersant, and
environmental samples for Mr. Smith’s Clients’ claims.

7. The tests that I have done on Mr. Smiths’ Clients’ Oil Samples are not
finalized, Furthermore, all of the work that I have done for Mr. Smith’s
clients was solely at Mr, Smith’s direction and is confidential. I do not

have authority from Mr, Smith or from Mr, Smith’s Clients to release any

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of their oil samples or my draft analyses. Nor have | been served with a
subpoena to produce any of my records.
8. The cost for transportation, performing and coordinating the fingerprint

analysis on the BP Oil Samples total approximately $11,940.

UZ—

MARCO KALTOFEN

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